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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Criminal Action No. 20-cr-00165-CMA
UNITED STATES OF AMERICA,

Plaintiff,

1. GREGORY LOPEZ,

Defendant.

 

 

PLEA AGREEMENT

 

The United States of America (the government), by and through Alecia L.
Riewerts, Assistant United States Attorney for the District of Colorado, and the

defendant, Gregory Lopez, personally and by counsel, David Kraut, Assistant Federal

 

Public Defender, submit the following Plea Agreement.
I, PLEA AGREEMENT

Pursuant to Rule 11(c)(1)(B) of the Federal Rules of Criminal Procedure, the
parties understand that any recommendations that a particular sentence or sentencing
range be imposed pursuant to this Plea Agreement are not binding on the Court.
Because the government is agreeing to dismiss two counts of the Indictment at the time
of sentencing, the defendant will be permitted to withdraw his plea of guilty if this Court
rejects this plea agreement pursuant to Rule 11(c)(1}(A) and (c)(5) of the Federal Rules

of Criminal Procedure.

COURT EXHIBIT

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A. Defendant's Obligations

1. Count of Conviction

The defendant agrees to plead guilty to Count One of the Indictment charging a
violation of 18 U.S.C. § 2251(a) and (e), Production of Child Pornography, and Count
Three of the Indictment charging a violation of 18 U.S.C. § 2252A(a)}(1) and (b)(1),
Transportation of Child Pornography. The defendant also agrees to admit the Forfeiture

Allegation contained in the Indictment.

2. Sentencing Position

 

As part of this agreement, the defendant agrees to jointly recommend a term of
supervised release of 20 years to follow the defendant’s term of imprisonment.

3. Waiver of Appeal

The defendant is aware that 18 U.S.C. § 3742 affords the right to appeal the

 

sentence, including the manner in which that sentence is determined. Understanding
this, and in exchange for the concessions made by the government in this agreement,
the defendant knowingly and voluntarily waives the right to appeal any matter in
connection with this prosecution, conviction, or sentence (including the restitution
order), uniess it meets one of the following criteria:

(1) the sentence exceeds the maximum penalty provided in the statutes of
conviction;

(2) the sentence exceeds the top end of the advisory guideline range from the
Sentencing Guidelines that applies for the defendant's criminal history (as
determined by the district court) at a total offense level of 44; or

(3) the government appeals the sentence imposed.
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lf any of these three criteria apply, the defendant may appeal on any ground that is
properly available in an appeal that follows a guilty plea.

The defendant also knowingly and voluntarily waives the right to challenge this
prosecution, conviction, or sentence (including the restitution order) in any collateral
attack (including, but not limited to, a motion brought under 28 U.S.C. § 2255). This
waiver provision does not prevent the defendant from seeking relief otherwise available
in a collateral attack on any of the following grounds:

(1) the defendant should receive the benefit of an explicitly retroactive change
in the sentencing guidelines or sentencing statute;

 

(2) the defendant was deprived of the effective assistance of counsel; or
(3) the defendant was prejudiced by prosecutorial misconduct.

3. Defendant’s Abandonment of Right, Title, and Claim to Seized Property

The United States of America and the defendant hereby agree that any property

 

subject to forfeiture pursuant to 18 U.S.C. § 2253, seized from the defendant and
currently in the custody and/or control of Homejand Security Investigations (HSI), was
properly seized and that such property constitutes evidence, contraband, or fruits of the
crimes to which the defendant has pleaded guilty. As such, the defendant hereby
relinquishes all claims, title, and interest the defendant has in such property, specifically
one LG LM-X320MA cellular telephone with IMEI 358335101997409, to the United
States of America with the understanding and consent that HSI, or other appropriate
agency, is to destroy the property described above forthwith without further obligation or

duty whatsoever owing to the defendant or any other person.

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As part of the Plea Agreement in this case, the defendant hereby states under
penalty of perjury that the defendant was the sole and rightful owner of the previously
referenced property, and that the defendant hereby voluntarily abandons all right and
claim to this property.

4. Forfeiture of Assets

The defendant agrees to forfeit to the United States immediately and voluntarily
any and all assets and property, or portions thereof, subject to forfeiture, pursuant to 18
U.S.C. § 2253, whether in the possession or control of the United States or in the
possession or control of the defendant or defendant's nominees, or elsewhere. The
assets to be forfeited specifically include, but are not limited to, one LG LM-X320MA
cellular telephone with IMEI 358335101997409. The defendant agrees and consents to
the forfeiture of these assets pursuant to any federal criminal, civil, and/or administrative
forfeiture action. The defendant also hereby agrees that the forfeiture described herein
is not excessive and, in any event, the defendant waives any constitutional claims that
the defendant may have.

Forfeiture of the defendant's assets shall not be treated as satisfaction of any
fine, restitution, cost of imprisonment, or any other penalty this Court may impose upon
the defendant in addition to forfeiture.

B. Government’s Obligations
1. Dismissal of Charges and Additional Charges
If the defendant enters an unconditional plea of guilty to Counts One and Three

of the Indictment and otherwise fulfills all obligations outlined above, the government will
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dismiss Counts Two and Four of the tndictment at the time of sentencing and agrees
not to charge the defendant with any other violations of law now known to the United
States Attorney's Office for the District of Colorado.

2. Sentencing Position

Provided that the guideline range is calculated consistent with the estimated
range contained in this agreement, the government agrees to recommend a sentence of
no more than 450 months (37.5 years) imprisonment. As part of this agreement, the
government agrees to jointly recommend a term of supervised release of 20 years to
follow the defendant's term of imprisonment. Should Probation or the Court determine
that the guideline range is lower, the government reserves its ability to seek an upward
variance to the extent necessary to achieve a sentence consistent with the sentencing
range caiculated in this agreement.

3. Acceptance of Responsibility

The government agrees that the defendant should receive a two level reduction
for acceptance of responsibility pursuant to USSG § 3E1.1(a). If the defendant does not
engage in prohibited conduct or otherwise implicate USSG § 3C1.1, the government
agrees to file a motion requesting that the defendant receive a one level reduction for
acceptance of responsibility pursuant to USSG § 3E1.1(b).

il. ELEMENTS OF THE OFFENSE
The parties agree that the elements of the crime of Production of Child

Pornography, 18 U.S.C. § 2251(a) and (e), are as follows:
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One: The defendant employed, used, persuaded, induced, enticed, or coerced
a minor to engage in sexually explicit conduct;

Two: That the defendant acted with the purpose of producing a visual depiction
of such conduct; and

Three: That the defendant knew or had reason to know that the visual depiction
would be transported or transmitted using any means or facility of interstate or foreign
commerce or in or affecting interstate or foreign commerce or mailed; or that the visual

depiction was produced or transmitted using materials that have been mailed, shipped,

 

or transported in or affecting interstate or foreign commerce by any means, including by
computer; or that the visual depiction was actually transported or transmitted using any
means or facility of interstate or foreign commerce or in or affecting interstate or foreign
commerce or mailed.‘

The parties agree that the elements of the crime of Transportation of Child
Pornography, 18 U.S.C. § 2252A(a)(1), are as follows:

One: The defendant knowingly mailed, transported or shipped child

 

pornography; |
Two: That the child pornography was mailed, transported or shipped using any
means or facility of interstate or foreign commerce or in or affecting interstate or foreign

commerce by any means, including by computer;

 

1418 U.S.C. § 2251(a); Fifth Circuit Criminal Pattern Jury Instruction 2.84 [modified].
The Tenth Circuit does not have a pattern instruction for this crime.
 

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Three: That when the defendant mailed, transported or shipped the child
pornography, the defendant knew it was child pornography.”

“Minor’ means any person under the age of eighteen years.°

"Visual depiction" includes undeveloped film and videotape, data stored on
computer disk or by electronic means which is capable of conversion into a visual
image, and data which is capable of conversion into a visual image that has been
transmitted by any means, whether or not stored in a permanent format.

“Child pornography” means any visual depiction, including any
photograph, film, video, picture, or computer or computer-generated image or picture,
whether made or produced by electronic, mechanical, or other means, of sexually
explicit conduct, where the production of such visual depiction involves the use of a
minor engaging in sexually explicit conduct.*

“Sexually explicit conduct” means actual or simulated:

4. sexual intercourse, including genital-genital, oral-genital, anal-genital, or

oral-anal, whether between persons of the same or opposite sex; or
2. bestiality; or
3. masturbation; or

4. sadistic or masochistic abuse; or

 

218 U.S.C. § 2252A(a)(1); Fifth Circuit Criminal Pattern Jury Instruction 2.85C
[modified]. The Tenth Circuit does not have a pattern instruction for this crime.
318 U.S.C. § 2256(1).

418 U.S.C. § 2256(5).

518 U.S.C. § 2256(8)(A).
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5. lascivious exhibition of the anus, genitals, or pubic area of any person.®
lll. STATUTORY PENALTIES
Based on the defendant's criminal history known at this time, the applicable
maximum statutory penalty for a violation of 18 U.S.C. § 2251(a) and (e), Production of
Child Pornography, is not less than 15 years imprisonment, not more than 30 years
imprisonment, not more than a $250,000 fine, or both. 18 U.S.C. § 2251(a) and (e).
Pursuant to 18 U.S.C. § 3583(k), because the defendant is pleading guilty to violating

18 U.S.C. § 2251(a), the term of supervised release is not less than 5 years and up toa

 

term of life. Defendant will be required to pay a $100 special assessment fee.
The parties do not believe the following provisions are applicable, but if the
defendant has been previously convicted under Chapters 110, 71, 109A, 117, or under

18 U.S.C. § 1591, or under section 920 of title 10 (article 120 of the Uniform Code of

 

Military Justice), or under the laws of any State relating to aggravated sexual abuse,
sexual abuse, or abusive sexual contact involving a minor or ward, or sex trafficking of
children, or the production, possession, receipt, mailing, sale, distribution, shipment, or
transportation of child pornography, the penalty for a violation of 18 U.S.C. § 2251{a) is
not less than 25 years nor more than 50 years imprisonment, not more than $250,000
fine, or both; with two such convictions, the penalty for a violation of 18 U.S.C.

§ 2251(a) is not less than 35 years nor more than life imprisonment, not more than a
$250,000 fine, or both. Defendant will be required to pay a $5,000 special assessment

unless the Court finds that the defendant is indigent. 18 U.S.C. § 3014. Defendant will

 

6 48 U.S.C. § 2256(2)(A).
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also be required to pay a special assessment of no more than $50,000 for his conviction
for chiid pornography production as defined by 18 U.S.C. § 2259(c)(1), which includes
offenses under 18 U.S.C. § 2251(a). 18 U.S.C. § 2259A(a)(3).

Based on the defendant's criminal history known at this time, the applicable
maximum statutory penalty for a violation of 18 U.S.C. § 2252A(a}(1), Transportation of
Child Pornography, is not less than 5 years imprisonment, not more than 20 years
imprisonment, not more than a $250,000 fine, or both. 18 U.S.C. § 2252A(b)(1).
Pursuant to 18 U.S.C. § 3583(k), because the defendant is pleading guilty to violating
18 U.S.C. § 2252A(a)(1), the term of supervised release is not less than 5 years and up
to a term of life. Defendant will be required to pay a $100 special assessment fee.

The parties do not believe the following provisions are applicable, but if the
defendant has been previously convicted under Chapters 110, 71, 109A, 117, Title 18
section 1591, or under section 920 of title 10 (article 120 of the Uniform Code of Military
Justice), or under the laws of any State relating to aggravated sexual abuse, sexual
abuse, or abusive sexual conduct involving a minor or ward, or the production,
possession, receipt, mailing, saie, distribution, shipment, or transportation of child
pornography, or sex trafficking of children, the penaity for a violation of 18 U.S.C. §
2252A(a)(1) is not less than 15 years nor more than 40 years imprisonment, not more
than a $250,000 fine, or both. Defendant will be required to pay a $5,000 special
assessment unless the Court finds that the defendant is indigent. 18 U.S.C. § 3014.
Defendant will aiso be required to pay a special assessment of no more than $35,000

for his conviction for trafficking in child pornography as defined by 18 U.S.C. §

 
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2259(c)(3), which includes offenses under 18 U.S.C. § 2252A(a)(1). 18 U.S.C. §
2259A(a)(2).
IV. COLLATERAL CONSEQUENCES

The conviction may cause the loss of civil rights, including but not limited to the
right to possess firearms, vote, hold elected office, and to serve on a jury. If the
defendant is not a United States citizen, this conviction will result in the defendant's
removal from the United States once he has completed any sentence of imprisonment.
A. Future Violations of Supervised Release

lf supervised release is imposed, a violation of any conditions of probation or
supervised release may result in a separate prison sentence and additional supervision.
If a condition of release is violated, the defendant may be sentenced to up to 5 years
without credit for pre-release imprisonment or time previously served on post-release
supervision.
B. Registration under the Sex Offender Registration and Notification Act

The defendant has been advised and he understands that under the Sex
Offender Registration and Notification Act, a federal law, and pursuant to 18 U.S.C.
§ 3583(d), upon his release from prison and as a condition of his supervised release, if
any, he will be subject to federal and state sex offender registration requirements, and
that those requirements may apply throughout his life. The defendant understands he
must register as a sex offender and must keep the registration current with the state sex
offender registration agency in each of the following jurisdictions: where he was

convicted, where he resides, where he is employed, and where he is a student. The

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defendant understands that the requirements for registration include providing his
name, residence address, the names and addresses of any places where he is or will
be an employee or a student, and information relating to intended travel outside the
United States, among other information. The defendant further understands that the
requirement to keep the registration current includes informing at least one jurisdiction
in which he resides, is an employee, or is a student not later than three business days
after any change of name, residence, employment, or student status. The defendant
shall comply with requirements to periodically verify in person his sex offender
registration information. The defendant has been advised, and understands, that failure
to comply with these obligations subjects him to prosecution for violations of applicable |
state law or 18 U.S.C. § 2250, a federal! law, which is punishable by a fine or
imprisonment, or both. Defendant further understands that, under 18 U.S.C. § 4042(c),
notice will be provided to certain law enforcement agencies upon release from
confinement following conviction.
C. Restitution

Defendant acknowledges that pursuant to 18 U.S.C. § 2259(a), the Court is
required to order restitution for the full amount of the victims’ compensable losses as
defined at 18 U.S.C. § 2259(c)(2) and (4) as may be proved by the government or
stipulated to by the parties. Defendant will be required to pay restitution for the full
amount of the victims’ losses to all victims of the offense to which defendant is pleading
guilty. For purposes of this paragraph, the term “victim” is defined in 18 U.S.C.

§ 2259(c)(4), and the term “full amount of the victims’ losses" is defined in 18 U.S.C.

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§ 2259(c)(2). Defendant further understands the amount of loss sustained by each
victim will be determined during the course of preparation of the presentence
investigation report.

Defendant acknowledges that the Court may not decline to award restitution
because of the defendant's economic circumstances or the fact that the victims have, or
are entitled to, receive compensation for their injuries from the proceeds of insurance or
any other source. Defendant agrees to cooperate in the investigation of the amount of
loss and the identification of victims. Defendant understands full restitution will be
ordered regardiess of defendant’s financial resources. Defendant understands that an
unanticipated amount of a restitution order will not serve as grounds to withdraw
defendant's guilty plea. Defendant further agrees to comply with any restitution order
entered at the time of sentencing. Defendant agrees to cooperate in efforts to collect
the restitution obligation, by any means the United States deems
appropriate. Defendant understands imposition or payment of restitution will not restrict
or preclude the filing of any civil suit or administrative action. Defendant agrees any
restitution imposed will be non-dischargeable in any bankruptcy proceeding and
defendant will not seek a discharge or a finding of dischargeability as to the restitution
obligation.

V. STIPULATION OF FACTS

The factual basis for this plea is set forth below. Because the Court must, as part

of its sentencing methodology, compute the advisory guideline range for the offense of

conviction, consider relevant conduct, and consider the other factors set forth in 18

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U.S.C. § 3553, additional facts that may be included below which are pertinent to those
considerations and computations. To the extent the parties disagree about the facts set
forth below, the stipulation of facts identifies which facts are known to be in dispute at
the time of the execution of the plea agreement.

This stipulation of facts does not preclude either party from presenting non-
contradictory additional facts which are relevant to the Court's guideline computation, to
other 18 U.S.C. § 3553 factors, or to the Court's overall sentencing decision.

The parties agree the government would be able to prove the following facts at
trial.

On April 29, 2020, an HSI Special Agent working in an undercover capacity in
Philadelphia, Pennsylvania (hereinafter “UCA’) was conducting online investigations
related to child exploitation activities involving the darknet. The UCA, utilizing a
computer device connected to the Internet, visited a known darknet advertising website.
This darknet advertising website is similar to “Craigslist” in that individuals can
anonymously post messages advertising items or services for sale. Most often, the
services and/or items listed on this darknet advertising site are illicit items, to include
child exploitation materials. This darknet advertising website is only accessed utilizing a
special Internet browser called The Onion Router (TOR).

TOR was originally designed, implemented, and deployed as a project of the
U.S. Naval Research Laboratory for the primary purpose of protecting government
communications. It is now available to the public at large. The TOR network is

available to Internet users; it is designed specifically to facilitate anonymous

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communication over the Internet. In order to access the TOR network, a user must
install computer software that is publicly available, either by downloading software to the
user's existing web browser, downloading free software available from the network's
administrators, or downloading a publicly-available third-party application.’ Using the
TOR network prevents someone attempting to monitor an internet connection from
learning what sites a user visits and prevents the sites the user visits from learning the
user’s physical location. Because of the way the TOR network routes communication
through other computers, traditional IP identification techniques are not viable.

Websites that are accessible only to users within the TOR network can also be set up
within the TOR network.

At approximately 6:20pm on April 29, 2020, the UCA observed an advertisement
on the darknet advertising website which was titled “cp”. The posting advertised “Boy
porn new set 7yo boy good anal bitcoin original brand new set 20 usd contact
“DEFENDANT EMAIL ACCOUNT #1”.9

The UCA asked the individual utilizing the account, later identified as the
defendant, what the boy looked like and if a preview could be provided. The defendant

responded by providing the UCA with a .gif attachment titled

 

’ Users may also access the Tor network through so-called “gateways” on the open
Internet; however, use of those gateways does not provide users with the anonymizing
benefits of the network.

8 In the context of child exploitation investigations, the term “cp” stands for “child
pornography.”

9 The actual names of the defendant's email accounts referenced in the Plea
Agreement are known to the defendant and law enforcement.

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“20200426 XXXXXX(xX).gif.”1? Upon opening the attachment, the UCA observed a
series of 40 image files which appeared to involve a minor child’s nude buttocks being
penetrated by an adult male penis. The UCA also observed that when starting at the
first photo and scrolling to the last photo, the clip depicted anal penetration of the then-
unidentified minor child. The UCA requested to see the face of the minor child. The
defendant advised that he was a new producer and scared to show his face.

The defendant stated that he had a “small set” but was hoping to build. The UCA
asked how many were in the set that the defendant offered and how much he was
charging. The defendant stated that there were three videos in the small set “fingering
and two anal ones’ that he would seil for $20 and the full set included two additional
videos “finished product the cum finish on his butt” that he would sell for $20 more, in
total $40 for the full set of five videos. The defendant stated that “its consensual with
sound fucked him pretty good but not balls deep im not a raper’.

Between April 29, 2020 and May 6, 2020, the UCA and the defendant
communicated about the method of payment for the full set of five videos. The
defendant initially stated that he wanted payment in bitcoin however he stated that he
was worried about the transaction being reported to the IRS. The UCA requested
Venmo as a peer-to-peer payment platform, to which the defendant sent the UCA a
Venmo payment request for $40.00. The UCA obtained approval from HSI Philadelphia

to conduct a purchase of evidence from the defendant in the amount of $40.00.

 

19 A portion of the file names in the Plea Agreement have been redacted.

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For reasons unknown to the UCA, the $40.00 Venmo payment to the defendant
was not successful. The UCA advised the defendant that the transaction was
unsuccessful and asked if the defendant had another idea. The defendant
subsequently sent a PayPal request to the UCA requesting $40.00. On May 6, 2020, at
approximately 7:25pm, the UCA successfully sent $40.00 to the PayPal account
provided by the defendant. The defendant subsequently supplied the UCA with five
website links to download the videos from the Internet. The UCA successfully
downloaded and captured all five videos, each of which depicted the sexual abuse of a
minor child, who has been identified as Minor #1. The following is a description of the 7
video files provided to the UCA by the defendant:

a. A video file titled “20200426 XXXXXX.mp4" is a video file
approximately 40 seconds in length. The video file depicts the defendant
digitally penetrating the anus of Minor #1. Minor #1 is on his stomach on a
brown carpet and a blue pillow.

b. A video file titled “20200426 XXXXXX.mpg4’ is a video file
approximately 53 seconds in length. The video file depicts the defendant
using his penis to anally penetrate Minor #1. Minor #1 is lying on his
stomach on a brown carpet and a blue pillow with a rainbow. A blue dildo
can be seen in the video.

C. A video file titled “20200426 XXXXXX.mp4’ is a video file
approximately 16 seconds in length. The video file depicts the defendant
using his penis to anally penetrate Minor #1. Minor #1 is lying on his
stomach on a brown carpet and a blue pillow with a rainbow. A blue dildo
can be seen in the video.

d. A video filed titled "20200426 XXXXXX.mp4" is a video file
approximately 1 minute and 9 seconds in length. The video file depicts
the defendant using his penis to anally penetrate Minor #1. Minor #1 is
lying on his stomach on a brown carpet.

e. A video file titled “20200426 XXXXXX.mp4’ is a video file
approximately 36 seconds in length. The video file depicts the defendant

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using his penis to anally penetrate Minor #1. Minor #1 is lying on his
stomach on a brown carpet.

On May 6, 2020, at approximately 9:47pm, the defendant messaged the UCA
and stated that “a small review could go a lone way to a man if you get the chance
hopin more to come ya know please dont post anywhere or we cant do business and i
wont be able to make more unless ull b bigtime buyer totally diffrent story though”.

The UCA received a receipt of payment from PayPal which detailed that the UCA
had paid $40 to the PayPal account of Gregory Lopez, email address: “DEFENDANT
EMAIL ACCOUNT #2”. HSI Philadelphia conducted an open source search of
“DEFENDANT EMAIL ACCOUNT #2’ which revealed that it was an email address
associated with Gregory Lopez in Colorado Springs, Colorado.

During the course of the investigation, it was discovered that special agents in
HSI Newark had previous undercover communications with the defendant. HSI Newark
advised that the defendant communicated with an undercover law enforcement officer
and provided a picture of himself. HSI Newark provided this photo to the UCA in HSI
Philadelphia. The photo depicted a white male, possibly Hispanic, wearing a neon
green construction shirt, glasses, and facial hair. Upon further review of the photo, a
portion of a suspected Colorado driver's license could be seen along with the number
“1993”.

A search of the Colorado Department of Motor Vehicle revealed Gregory Lopez,
DOB XX-XX-1993 with a reported home address in Colorado Springs, Colorado. The
photo of the male provided by HSI Newark appeared to be the same individual in the

driver's license photo of the defendant.

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On May 7, 2020, HSI Colorado Springs and the Colorado Springs Police
Department's (CSPD) Internet Crimes Against Children (ICAC) Task Force were
contacted by the UCA in HSI Philadelphia. A utilities record check was completed. The
records showed Gregory Lopez had an active account at the home address listed on his
Colorado driver's license. On the same date, an HSI Special Agent confirmed with the
apartment complex’s leasing office that Gregory Lopez was on the lease for the address
reflected on the defendant's driver's license and in the utilities record check.

On May 7, 2020, a state premises search warrant was authorized to search the
defendant’s home address in Colorado Springs, in the District of Colorado. The search |
warrant was executed on that date. The defendant was present at his residence when
the search warrant was executed. The defendant agreed to participate in a Mirandized
interview. The defendant confirmed his name, date of birth, and his contact email
address of “DEFENDANT EMAIL ACCOUNT #2”.

The defendant stated that he sold multiple videos on the darknet of himself
molesting Minor #1, a minor child to whom he had access. He stated that he used his
LG cellular telephone to record the videos of his sexual abuse of Minor #1 while at his
residence located in Colorado Springs, in the District of Colorado. The defendant said
the recorded sex abuse occurred on the floor of his bedroom. The defendant further
stated that he destroyed his cellular telephone while law enforcement was knocking on
the front door during the execution of the search warrant.

The defendant stated he offered Minor #1 money in exchange for making the

“sex video”. He stated that he had put his penis and fingers into Minor #1's anus during

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the video. The defendant also said he licked Minor #1’s anus and stated that he
ejaculated into Minor #1’s anus. The defendant confirmed that Minor #1 told him to stop
because it hurt. The defendant confirmed nobody else was present and the conduct
occurred two Sundays prior. The defendant stated he engaged in another instance of
sexual abuse with Minor #1 prior to the video-recorded sexual abuse; he said he put his
penis into Minor #1’s anus a few days prior, but did not record it.

The defendant also said he sucked on Minor #1’s penis more than five times, but
fewer than 10 times while he had access to Minor #1. He stated that on one occasion
he moved Minor #1's head towards his penis in an attempt to get Minor #1 to perform |
oral sex on him. The defendant said that Minor #1 started “screaming and crying”, so
he stopped and apologized. The defendant stated he was the sole care giver of Minor
#1 during each of the occasions he sexually abused and sexually exploited Minor #1.

Minor #1 was seven years oid when the defendant sexually abused and exploited the
minor victim.

The defendant confirmed selling the child sex abuse videos he made to a single
individual on the darknet. He confirmed selling five child sex abuse videos of himself
and Minor #1 for $40.00. The defendant said he received payment through his Paypal
account which was linked to his email address of “DEFENDANT EMAIL ACCOUNT #2”.

At the end of the interview, the defendant said he had been lying earlier and said he
sold the five videos to a second unknown individual for $40.00 in digital currency.

The defendant stated he had searched for and downloaded child pornography

files using his LG phone. He said he stored multiple child pornography videos on his

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phone’s SD card to include videos of baby and toddler rape. He stated he had
distributed child pornography videos on anonymous darknet image boards.

During the course of the investigation, HSI special agents and CSPD detectives
recovered the defendant’s broken LG cellular telephone, adult male clothing matching
the clothing worn by the defendant in the videos, and a blue pillow with rainbows which
matched the pillow Minor #1 was lying on in the videos. HSI Special Agents and CSPD
Detectives also recovered a blue dildo which appears in the child pornography videos.

On May 8, 2020, Minor #1 was forensically interviewed. Minor #1 disclosed the
defendant had been “doing gross stuff to me”. When asked what Minor #1 meant,
Minor #1 said the defendant had been “sucking my privates, he’s been doing that a lot, |
said no”. Minor #1 further disclosed that the defendant stuck his fingers and tongue into
his butt and recorded it. Minor #1 then disclosed that LOPEZ “posted it online where
people can see and gets lots of money.” Minor #1 said the defendant told him not to tell
anyone about what happened.

During the course of the computer forensic examination, a total! of ten files
depicting the sexual exploitation of Minor #1 were recovered from the SD card of
LOPEZ’s LG cellular telephone, specifically the LG LM-X320MA cellular telephone with
IMEI 358335101997409. The phone's SD card was manufactured in China. The files
consisted of three image files and seven video files. The metadata associated with the
images depicting Minor #1 reflect that they were taken with a device matching the make
and model of the defendant’s LG cellular telephone. The files names and metadata

associated with the images and videos reflect that the files depicting the sexual

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exploitation of Minor #1 were taken on April 26, 2020, between approximately 2:00pm
and 2:35pm. The mother of Minor #1 has confirmed that the defendant had access to
Minor #1 on that date.

Examination of the files on the SD card also reflected the presence of
approximately 265 child pornography video files and 20 child pornography image files.
The videos and images depict children approximately three years of age and up; most
of the videos depict adult males and females engaging in sexual acts with minor
females in the age range of three to six years old. Additionally, web browser artifacts
located during the computer forensic examination reflected that a folder existed on the
SD card that was consistent with installation of the TOR browser application.

Defendant admits that Minor #1 had not attained the age of 12 years at the time
of the production offense; the production offense involved the commission of a sexual
act: the defendant knowingly engaged in distribution of the child pornography he
produced; Minor #1 was in the custody, care, or supervisory control of the defendant at
the time of the production offense; and the defendant engaged in a pattern of activity
involving prohibited sexual conduct with Minor #1. Further, the defendant admits that
the files he transported depicting Minor #1 were child pornography as defined in 18
U.S.C. § 2256(8)(A); the offense involved the use of the Internet to transport child
pormography to another individual; the defendant knew the files were child pornography
when he transported them; the offense involved distribution for pecuniary gain; the
material that was possessed by the defendant depicts the sexual abuse or exploitation

of toddlers; the defendant engaged in a pattern of activity involving the sexual abuse or

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exploitation of Minor #1; and the defendant used a computer to commit the
transportation offense; and the offense involved more than 600 images. The defendant
further admits that he was located in the District of Colorado when he produced and
transported the child pornography depicting Minor #1.

VI. ADVISORY GUIDELINE CALCULATION

The parties understand that the imposition of a sentence in this matter is
governed by 18 U.S.C. § 3553. In determining the particular sentence to be imposed,
the Court is required to consider seven factors. One of those factors is the sentencing
range computed by the Court under advisory guidelines issued by the United States
Sentencing Commission. In order to aid the Court in this regard, the parties set forth
below their estimate of the advisory guideline range called for by the United States
Sentencing Guidelines. To the extent that the parties disagree about the guideline
computations, the recitation below identifies the matters which are in dispute.

The Guideline calculation below is the good-faith estimate of the parties, but it is
only an estimate. The parties understand that the government has an independent
obligation to assist the Court in making an accurate determination of the correct
guideline range. To that end, the government may argue that facts identified in the
presentence report, or otherwise identified during the sentencing process, affect the
estimate below.

Offense Level for Count One: The base guideline is § 2G2.1.

The base offense level for Production of Child Pornography is 32. § 2G2.1(a).

Because the offense involved a minor who had not attained the age of twelve
years, there is an increase of +4 levels. §2G2.1(b)(1)(A).

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Because the offense involved the commission of a sexual act or sexual contact,
there is an increase of +2 levels. § 2G2.1(b)(2)(A).

Because the offense involved distribution, there is an increase of +2 levels. §
2G62.1(b)(3).

Because the offense involved a minor who was in the custody, care, or
supervisory control of the defendant, there is an increase of +2 levels. §
2G2.1(b}(5).

Defendant should receive a decrease in the offense level by -2 based upon his
acceptance of responsibility. § 3E1.1(a). Defendant should also receive a
decrease in the offense level by —1 for timely notifying the government. §
3E1.1{b). At sentencing, the government will make the appropriate motion for
the one-point reduction.

Because the defendant is a repeat and dangerous sex offender against minors,
there is an increase of +5 levels. § 4B1.5.

The total adjusted offense level for Count One of the Indictment is 44.

Offense Level for Count Three: The base guideline is § 2G2.2.

The base offense level for Transportation of Child Pornography is 22.
§ 2G2.2(a)(2).

Because the pornographic material involved a prepubescent minor or a minor
who had not attained the age of 12, there is an increase of +2 levels.
§2G2.2(b)(2).

Because the offense involved distribution for pecuniary gain, increase by +5
levels. § 2G2.2(b)(3)(A).

Because the offense involved material that portrays the sexual abuse or
exploitation of an infant or toddler, increase by +4 levels. § 2G2.2(b){4).

Because the defendant engaged in a pattern of activity involving the sexual
abuse or exploitation of a minor, there is an increase of +5 levels. § 2G2.2(b)(5).

Because the offense involved the use of a computer or an interactive computer
service for the possession, transmission, receipt, or distribution of the material,
there is an increase of +2 levels. § 2G2.2(b)(6).

Because the offense involved more than 600 images, increase by +5 levels.
§ 2G2.2(b)(7)(D).

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The adjusted offense level for Count Three is 45.

Therefore, the Cross Reference in § 2G2.2(c)(1) does not apply since the
resulting offense level under § 2G2.1 is less than that determined under § 2G2.2.

Defendant should receive a decrease in the offense level by -2 based upon his
acceptance of responsibility. § 3&1.1(a). Defendant should also receive a
decrease in the offense level by —1 for timely notifying the government. §
3E1.1(b). At sentencing, the government will make the appropriate motion for
the one-point reduction.

The total adjusted offense level for Count Three of the Indictment is 42.

Multiple Count Adjustment

Under § 3D1.2, these counts group and there is no increase in offense level. 0
Therefore, the total adjusted offense level for Counts One and Three is 44. 2

Criminal History Category

The parties acknowledge and agree that the estimation regarding Defendant's
criminal history is tentative. Defendant acknowledges that the criminal history
will be further investigated by the United States Probation Department and
ultimately determined by the Court. Defendant further acknowledges that any
additional facts regarding the criminal history can greatly affect the final guideline
range and result in a longer term of imprisonment. Based upon the facts known
at this time regarding Defendant's criminal history, the parties believe that
Defendant falls within Criminal History Category ("CHC") Il. § 4A1.1.

The career offender adjustment tentatively does not apply. § 4B1.1.

Guideline Ranges

The guideline range resulting from the estimated offense level of 44 and the
estimated criminal history category of II is life. The imprisonment range is life from
the bottom of CHC | to the top of CHC VI. The guideline range would not exceed,
in any case, the statutory maximum of 600 months imprisonment applicable to the
count of conviction.

Pursuant to § 5E1.2, assuming the estimated offense level of 44, the fine range for
this offense would be $50,000 to $500,000, plus applicable interest and penalties.

Pursuant to 18 U.S.C. § 3583(k) and § 5D1.2(b)(2), if the Court imposes the term
of supervised release, that term shall be at least 5 years but not more than life.

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Vil. ENTIRE AGREEMENT
This document states the parties’ entire agreement. There are no other.
promises, agreements, (or “side agreements”), terms, conditions, understandings or
assurances, express or implied. tn entering this Plea Agreement, neither the
government nor the defendant have relied, or are relying, on any terms, promises,

conditions or assurances not expressly stated in this agreement.

Date: PM /-! tiny ofwy |

GREGORYLOPEZ %” |
Defendant

Date: $| M le TRAD

David Kraut
Attorney for Defendant

Date: hye pon (Une Rtemudy-

 

Alecia L. Riewerts
Assistant U.S. Attorney

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